                                  NUMBER 13-16-00404-CR

                                  COURT OF APPEALS

                      THIRTEENTH DISTRICT OF TEXAS

                         CORPUS CHRISTI - EDINBURG
____________________________________________________________

WILLIAM CHARLES TAYLOR,                                                                    Appellant,

                                                    v.

THE STATE OF TEXAS,                                 Appellee.
____________________________________________________________

             On appeal from the 331st District Court
                    of Travis County, Texas.
____________________________________________________________

                              MEMORANDUM OPINION
          Before Chief Justice Valdez and Justices Garza and Longoria
                       Memorandum Opinion Per Curiam

        Appellant, William Charles Taylor, attempts to appeal the trial court’s denial of a

motion for new trial in trial court cause number D-1-DC-07-300708.1 We dismiss the

appeal for lack of jurisdiction.



        1 This case is before the Court on transfer from the Third Court of Appeals in Austin pursuant to a

docket equalization order issued by the Supreme Court of Texas. See TEX. GOV'T CODE ANN. § 73.001
(West, Westlaw through 2015 R.S.).


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       Sentence in this matter was imposed on September 12, 2007 and notice of appeal

was filed on June 14, 2016. On July 20, 2010, the Clerk of this Court notified appellant

that it appeared that there was no final, appealable judgment. Appellant was advised

that the appeal would be dismissed if the defect was not corrected within ten days from

the date of receipt of the Court’s directive. Appellant filed a response containing a copy

of his motion for new trial and refers to a prior memorandum opinion and judgment issued

in cause number 03-07-00613-CR.

       The Third Court of Appeals issued a memorandum opinion and judgment in cause

number 13-07-0613-CR on November 13, 2007 arising out of the same trial court cause

number, D-1-DC-07-300708. The opinion dismissed the appeal because the trial court’s

certification did not show the defendant had the right of appeal. See TEX. R. APP. P.

25.2(a)(2).

       This Court lacks jurisdiction to consider a second appeal from appellant’s final

conviction. The exclusive post-conviction remedy in final felony convictions in Texas

courts is through a writ of habeas corpus pursuant to Texas Code of Criminal Procedure

11.07. TEX. CODE CRIM. PROC. ANN. art. 11.07, § 5 (West, Westlaw through 2015 R.S.)

(providing that “[a]fter conviction, the procedure outlined in this Act shall be exclusive and

any other proceeding shall be void and of no force and effect in discharging the prisoner”);

Ater v. Eighth Court of Appeals, 802 S. W.2d 241 (Tex. Crim. App. 1991).

       Accordingly, this appeal is DISMISSED for lack of jurisdiction. See TEX. R. APP.

P.42.3(a), 43.2(f).

                                                         PER CURIAM
Do not publish.
TEX. R. APP. P. 47.2(b).

Delivered and filed this
2nd day of September, 2016.

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